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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

 MICHAEL R. McEVOY and CINDY P.                      §
 McEVOY,                                             §
                                                     §
      Plaintiff,                                     §
                                                     §
 v.                                                  §     CAUSE NO. EP-21-CV-262-KC
                                                     §
 JENKINS, WAGNON & YOUNG, P.C.,                      §
                                                     §
      Defendant.                                     §


                                                  ORDER

         On this day, the Court considered the above-captioned case. On January 27, 2022, the parties

informed the Court that the parties had settled the case. ECF No. 10. Accordingly, unless the parties

submit final closing papers on or before March 14, 2022, the Court will dismiss the case without costs

and without prejudice to the rights of any party thereto to move within thirty days thereafter to reopen if

settlement has not, in fact, been consummated.

         IT IS FURTHER ORDERED that the Order for the parties to submit a joint report of the

parties’ planning meeting, ECF No. 9, is hereby VACATED.

         SO ORDERED.

         SIGNED this 28th day of January, 2022.




                                      KATHLEEN CARDONE
                                      UNITED STATES DISTRICT JUDGE
